      Case 2:17-cv-12081-MLCF-KWR Document 34 Filed 01/07/19 Page 1 of 1



                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

JOHN DOE                                                   CIVIL ACTION


V.                                                         NO. 17-12081
ADMINISTRATORS OF THE
TULANE EDUCATIONAL FUND                                    SECTION “F”
                                    ORDER

       Before the Court is the plaintiff’s unopposed motion to amend

this Court’s scheduling order dated May 10, 2018.            The plaintiff

requests to continue the April 29, 2019 trial date and extend all

other deadlines for 60 days, or until such time is convenient for

the    Court,   to   accommodate   the   impending   maternity    leave    of

plaintiff’s lead counsel and the trial schedule of incoming lead

counsel.

       Because the trial date is more than three months away, the

Court finds that a briefer continuance of approximately 30 days is

appropriate.      Accordingly, IT IS ORDERED: that the plaintiff’s

motion to amend is GRANTED, in part, and DENIED, in part.             IT IS

FURTHER ORDERED: that the Court shall hold a Scheduling Conference

by telephone on ______________,
                 January 17     2019 at ____________
                                           9:45 A.M. to select

mutually agreeable dates and deadlines in accordance with this

Order.

                              New Orleans, Louisiana, January 7, 2019


                                    ______________________________
                                         MARTIN L. C. FELDMAN
                                     UNITED STATES DISTRICT JUDGE
